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         NOTICE       OF OFFICE      OF MANAGEMENT                           AND         BUDGET               ACTION



Lois K. Holland                                                                                                        09114/2004
Treasury    PRA Clearance   Officer
TD Forms Manager
Department    of the Treasury
1750 Pennsylvania     Avenue NW
Room 11000
Washington,    DC 20220

In accordance   with the Paperwork Reduction Act, OMB has
taken.the  followlng  action  on your request    fir  approval   of
a revzszon  of an znformation   collection   recezved   on 08/05/2004

TITLE           U S     Individual         Income              Tax         Return

AGENCY     FORM       NUMBER(S)          1040,SCHEDULES-A-B-C,
                                         SCHEDULES C-EZ,SCHEDULES-D-D-1,
                                         SCHEDULES E-EIC,SCHEDULES-F-H                                                     J,
                                         SCHEDULES-R   SE

ACTION     Approved without change
OMB NO     1545-0074
EXPIRATION   DATE    09/B0/2007

BURDEN                       RESPONSES                                HOURS                                     COSTS(S,000)
  Previous                 407,904,175                       1,568,462,184                                                          0
  New
  Dzfference                410,469,225
                              2,565,050                      1,555,904,655
                                                                14,557,549                                                          0
                                                                                                                                    0
     Program    Change                                             - 47,589,057                                                     0
     Ad3ustment                                                      52,851,508                                                     0

TERMS     OF CLEARANCE            None




NOTE      The agency         is required    to display    the OMB control
          number and         inform   respondents    of its   legal
          significance          (see 5 CFR 1520 5(b))


 OMB Authorizing           Official                Title

 Donald     R     Arbuckle                         Deputy Administrator,   Office of
                                                   Information  and Regulatory   Affairs

 Sent     electronically,          09/14/2004                     18:02:07
                                                                                              Case 4:09-cr-00043-SPF Document 54-8 Filed in USDC ND/OK on 05/15/09 Page 2 of 3




                                                        PAPERWORK REDUCTION ACT SUBMISSION

        Paperwork Clearance Officer, Send two copies of this form, the collection instrument to be reviewed, the Supporting Statement, and any ]
        additionaldecumentation to: Office ofluformafion and Regulatory Affairs, Office of Management and Budget, Docket Library, Room 10102,725
        17th Street NW Washington, DC 20503.

        1. Agency/Subagency originating request                                                                                2. OMB eontrolnnmber                                                                b. -._

        Department ofthe Treasury                                                                                               a.      1      5                4         S   ----   0   0         7    4                                _-:
        Internal Reve_me Service                                                                                                       .......                                                         ---



             _           Newcelle_on                                                                                                 L X_X_.Reguhr

             k _.._Extavdon
             c.  X Revisinnora
                             of acurrentlyapprovedcollection
                                  currently ,,pproced collection                                                                     b.
                                                                                                                                     c.       Enrgency-Ap#rovrequed
                                                                                                                                              Delegated                                                        /        I      MaQagemeflt
             d.___ Reinstatement, wllixont change, of a previously approved                                                             -----
                         ceaectionforwhichapprovalhasexpired
             e..   Reinstatentent, with change, of a previously approved collection                                            ._. Small entities
                   for which approval has expired                                                                                  W'_ this h'fformation collection have a so_u_icant economic hnpact on a
             f. __Existing collection in use without an OMB control nmnber                                                         substantial number of mall entities?         yes X No

             For b-f, note item A2 of Supporting Stateme_               Mstr_Mm_                                               6. Requited expiration date
                                                                                                                                     a. _                  Three years from approval date b.                           Other   Specify:        /
                                 II   I                   I II                  I                 II           I                                                                               I




        7. Title U.S. Individual Income Tax Return
                                                                                             III II I[   Ill




    8. Agency form number(s) f[fappllcable)                                             Forms 1040 and Schedules A, B, C, C-EZ, D,D-1, E, EIC, F, H, J, R, and SE

    9. Keywords 'personal income taxes, tax return'
                    ii                                             I IIIII




    10. Abstract Form 1040 and schedules are used by individuals to reportt .heirincome tax liability. The data is used to verify
    that the items reported on the forms are correct, and also for general statistical use.
                           ]              I       III                                                              I   I                    I      III I    I IIIII III          I                                 1




    ] l.Affected public (Mark primary with "P'and all others that apply with "X'_                                              12. Obligation to respond (Mark prunary with "P" and all others that apply with "X")

        L P Individuals or horus_h;Ids &___Farms                                                                                      a. ___.Vohmtary
        b..._ Business or nther.for profit a..Federal                        Government                                               b..---
                                                                                                                                      c.      Required to obh_t or retain benefits
                                                                                                                                          P Mandatory
        c.         NoC-ror-pro_inspirations £ I
                                                        Sta_, Localor TribalGovermne_
                                                                                    IIIIII                                 I                                                                  I          III                       III




    13. Ammal reporting and recordkeeping hour burden                                                                          14. AJmual reporting and recordkeeping cost burden ('mthousands of dollars)
                   Numberof respondc_tts                         78 863 011                                                          a. Totalannualizedcapital/startupcosts
          b. Totelmmualresponses                  410469 23                                                                          b. Totalaimnalcosts(O&M)
             1. Percentage of these responses                                                                                        c. Totelmmuallzed costs requested
                   collected electronically   74      %                                                                              d. Current OMB inventory
         c. Total annual hours req_ted           1 53      635                                                                       _ Differmce                                             .....
         d. Current OMB inveJttory               1 $68 462 184                                                                       £ Explanation of difference
             Difference                             -14 57 9                                                                            1. Program change
         f. Explmmflon of difference                                                                                                   2. AdJtmement
            L Program chm_ge                       -47 89 057
            2. Adjustment                          +32 831 08
 ill|                                                                                                                                                       I     I




  1S. Purpose of information collection (Mart primary with "P"and all                                                          16. Frequency of recordkeeptng or reporting (cheek all that apply)
  others that app,' w/th"X'_)                                                                                                  a. X Recordkeeping                      b.___TMrd party disclosure
  . a,• _Application for benefits     e,      Program planning or mana gement                                                  c. X Reporting
    b..__.Program evaination          f.----'Research                                                                               1. --- On occasion       2. __ Weekly           3. ---- MonOdy
                                         "--                                                                                        4.     Quarterly         _.    Semi-mmnaHy 6. X Annually
    c.
    d. General
           Audit purpose sta_tics g P._Regalatory or compliance                                                                     7.     Btmalally         & _ Other (describe)
                                                  im




  17.Stotisticalmethod_                                                                                                        18. Agency¢oetact(personwho can best answerquesffon_regardingthe
             Does this toformation collection employ statistlcalmethods?                                                           Cordenl of this submission)

                                                          Yes                       X         No                                      Name:

                                                                                                                                      Ph0ne_
                                                                  IIIII II



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         II    I      I HIlL          II I




  19. Certification for Palrwork Reduction AcLSubmissions
  On behalf of this Federal agency, I certi[ Vthat the collectionof i_formationencompassedby this re_[uestcomplies
  with 5 q_'FR1320.9.

  NOTE: The !ext of 5 CFR 1320.9, and the related provisionsof 5 CFR 1320.8(b)(3),ap _ at the end of the
         instructions. The certificationis to be made _ :hreference to those regulatoryprovisions as setforth in
         the _m_-uctions.

  The following is a summar Vof the topics, regardingthe proposedcollectionof information,that the certifmatlon
  covers:

       (a) It is necessaryfor the proper performanceof agencyfunctions;
       (b) It avoids unnecessaryde plication;
       (c) It reducesburden on small entities;
       (d) It uses plain, coherent, and unambiguousterminologythat is understandableto res _ondents;
       (e) Its implementationwill be consistentand compatiblewith current reportingand recordkeeping _ractlces;
       (0 It indicatesthe retentionperiods for recordke_pingrequirements;
       (g) It informs respondentsof the informationcalled for under5 CFR 1320.&b)(3):
                    (i)        Why the informationIs being collected;
                    (ti)       Jse of information;
                    (ill)      Burden estimate;
                    _iv) Nature of response(voluntary, re_lulredfor a benefit, or mandatory);
                    (v)        Nature and extent of confidentiality;and
                    (vl) Need to di_-playcurrentlyvalid OMB controlnumber.
      (h) It was developed by an office that has plannedand allocatedresourcesfor the efficient and effective
          management and use of the information to be collected _Seenote in Item 19 of '.heinstructions);

     (i) It uses effective and efficient statisticalsurvey methodology;and

     (j) It makes ap _roprlateuse of informationteclmolo8V.

 If you are unable to certify cornpliancewith any of these provisions,identify the item below and explainthe reason
 in Item 18 of the SupportingStatement.




              III                                        I II IIII                       I                                I                  II




                                                                                             ¸                                        o to
 Signature of Senior Official or Designee                                                                                             Date


                                              i   i ii                                             Ill   I



OMB 83-I                                                                                                                                          10/95
